                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                            )
 In re: Application Pursuant to             )
 28 U.S.C.§ 1782 of                         )
                                            )
 FARHAD AZIMA                               )
 5921 Ward Parkway                          )
 Kansas City, Missouri 64113                    No. 3:22-cv-00095
                                            )
                     Petitioner,            )
                                            )
       v.                                   )
                                            )
 BANK OF AMERICA, N.A.                      )
 100 North Tryon Street                     )
 Charlotte, North Carolina 28255            )
                                            )
                     Respondent.            )
                                            )


     APPLICATION FOR ORDER TO TAKE DISCOVERY PURSUANT TO
                         28 U.S.C. § 1782

      Farhad Azima respectfully moves for an order pursuant to 28 U.S.C. § 1782 to

allow him to issue a subpoena to Bank of America, N.A. (“Bank of America”) pursuant

to Federal Rules of Civil Procedure 26 and 45, directing Bank of America to produce

documents for use in connection with a case pending in the High Court of Justice of

England and Wales (the “UK Court”) styled Farhad Azima -v- (1) RAKIA (2) David Neil

Gerrard (3) Dechert LLP and (4) James Edward Deniston Buchanan (Claim Number:

HC-2016-002798) (the “UK Proceedings”).

      As explained in the accompanying memorandum of law and declaration of

Dominic Holden, Mr. Azima’s application satisfies all three statutory requirements




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necessary to obtain discovery under section 1782: “(1) the applicant is an interested

person, (2) the discovery production is for use in a proceeding, and (3) the person at

whom the order is directed resides in the district where the motion was filed.” RF Micro

Devices, Inc. v. Xiang, No. 1:12CV967, 2013 WL 12136502, at *1 (M.D.N.C. Nov. 4,

2013). Specifically, Mr. Azima is an “interested person” as the plaintiff in the UK

proceeding; Mr. Azima seeks this discovery for use in a proceeding pending before a

foreign tribunal, the UK Court; and Bank of America is headquartered in the Western

District of North Carolina.

       In addition, the four discretionary factors identified by the United States Supreme

Court in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004), all

weigh in favor of granting this Application. Bank of America is not a party to the

proceedings before the UK Court; the UK Court is not opposed to this form of discovery;

Mr. Azima is not concealing an attempt to circumvent the requirements of the UK Court;

and the discovery sought is narrowly tailored so as not to be unduly burdensome to Bank

of America.

       Thus, Mr. Azima respectfully requests this Court to enter an order:

       1.     Granting Mr. Azima’s Application for discovery from Bank of America

pursuant to 28 U.S.C. § 1782; and

       2.     Authorizing Mr. Azima to issue a subpoena in substantially the same form

as the draft attached.




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This, the 8th day of March, 2022.

                                    WOMBLE BOND DICKINSON (US) LLP

                                    /s/ Ripley Rand
                                    Ripley Rand
                                    North Carolina Bar No. 22275
                                    Christopher W. Jones
                                    North Carolina Bar No. 27625
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                                    MILLER & CHEVALIER CHARTERED


                                    /s/ Kirby D. Behre
                                    Kirby D. Behre (pro hac vice forthcoming)
                                    Tim O’Toole (pro hac vice forthcoming)
                                    Ian Herbert (pro hac vice forthcoming)
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                           CERTIFICATE OF SERVICE

      I hereby certify that on or about March 8, 2022, I caused a true and correct copy of

Farhad Azima’s Application for Order to Take Discovery Pursuant to 28 U.S.C. § 1782

and accompanying documents sent via Federal Express overnight delivery to the following

address:

BANK OF AMERICA, N.A.
100 North Tryon Street
Charlotte, North Carolina 28255

      This, the 8th day of March, 2022.

                                          WOMBLE BOND DICKINSON (US) LLP

                                          /s/ Ripley Rand
                                          Ripley Rand
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                                          Christopher W. Jones
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